       Case 8:19-cv-01944-SAG           Document 280         Filed 05/20/25      Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


 J.O.P., et al.,

         Plaintiffs,
                                                              Civil Action No.
         v.                                                   8:19-CV-01944-SAG

 U.S. Department of Homeland Security, et al.,

         Defendants.


                                              ORDER

        The United States Court of Appeals for the Fourth Circuit denied Defendants’ motion for

stay pending appeal in J.O.P. v. U.S. Department of Homeland Security, No. 25-1519. See id. at

ECF 34 (May 19, 2025). Accordingly, it is hereby ORDERED that Defendants provide a status

report on the steps they have taken to facilitate the return of Cristian to the United States for

adjudication on the merits of his asylum application by USCIS. As this Court previously ordered,

facilitation includes, but is not limited to, taking steps “toward aiding, assisting, or making easier

[Cristian’s] release from custody in El Salvador,” ECF 253 at 14 (citing Abrego Garcia v. Noem,

No. 8:25-cv-00951, ECF 79 at 4 (D. Md. Apr. 15, 2025)), and “a good faith request by Defendants

to the government of El Salvador to release Cristian to U.S. custody for transport back to the United

States,” ECF 254 at 2; see also Noem v. Abrego Garcia, No. 24-A949, 604 U.S. __, 2025 WL

1077101, at *1 (Apr. 10, 2025) (“[T]he Government should be prepared to share what it can

concerning the steps it has taken and the prospect of further steps.”).

        Defendants’ status report should be filed on or before 5:00 PM ET on Tuesday, May 27,

2025, and should be in the form of a declaration from an individual with personal knowledge. The


                                                  1
       Case 8:19-cv-01944-SAG            Document 280        Filed 05/20/25       Page 2 of 2



status report should include: (1) Cristian’s current physical location and custodial status; (2) what

steps, if any, Defendants have taken to facilitate Cristian’s return to the United States; and (3) what

additional steps Defendants will take, and when, to facilitate Cristian’s return.




Dated: May 20, 2025                                             /s/
                                                       Stephanie A. Gallagher
                                                       United States District Judge




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